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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:06CR376
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )                     ORDER
                                               )
CHRISTINA ZAVODNY,                             )
                                               )
              Defendant.                       )

       This matter is before the Court on: 1) the sealed “motion to file facsimile with the

Court and motion to seal filed document” (Filing No. 131) filed by the Defendant, Christina

Zavodny, to file under seal the facsimile document described in the motion; and 2) the

Defendant’s oral motion to file her “motion to file facsimile with the Court and motion to seal

filed document” and “supplemental brief in support of motion for downward departure under

U.S.S.G. § 5K2.13” under seal.

       IT IS ORDERED:

       1.     The Defendant’s “motion to file facsimile with the Court and motion to seal

              filed document” (Filing No. 131) is granted;

       2.     The Defendant’s oral motion to file under seal her “motion to file facsimile

              with the Court and motion to seal filed document” and “supplemental brief in

              support of motion for downward departure under U.S.S.G. § 5K2.13” is

              granted; and

       3.     The Clerk is directed to file the documents referenced in (1) and (2) above

              under seal.

       DATED this 4th day of June, 2007.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   United States District Judge
